Case 19-34149-hdh7          Doc 172    Filed 06/25/21 Entered 06/25/21 12:15:47          Desc Main
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 James W. Cunningham
 Jim Cunningham & Associates, Inc.
 6412 Sondra Drive
 Dallas Texas 75214-3451
 (214) 827-9112

 Trustee

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 IN RE:                                           §
                                                  §
 S&D LONGHORN PARTNERS, LLC                       §                   CASE NO. 19-34149-HDH-7
                                                  §
   DEBTOR                                         §


                                     TRUSTEE INTERIM REPORT

           A Trustee’s Final Report and Report of Proposed Distribution has been delivered to the

 U.S. Trustee’s office on 6/25/2021 for review. The U.S. Trustee policy is to file the report within

 60 days of receipt.




                                                       RESPECTFULLY SUBMITTED,


                                                         /s/ James W. Cunningham
                                                       Chapter 7 Bankruptcy Trustee




 TRUSTEE STATUS REPORT
